         Case 24-10372-amc                    Doc
 Fill in this information to identify the case:
                                                          Filed 05/15/24 Entered 05/15/24 08:21:23                                  Desc Main
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B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Rochelle A. Manfra
             __________________________________________________________________

 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                               (State)
 Case number            24-10372
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                                         12/16

                  an provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.



                   Carrington Mortgage Services LLC
 Name of creditor: _______________________________________                                                               1
                                                                                             Court claim no. (if known): __________________

 Last 4 digits of any number you use to                   9866
 identify the debtor s account:                           ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
        No
  X                                   4     16 2024
        Yes. Date of the last notice: ____/____/_____


 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses,                                                                                   . Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

       Description                                                         Dates incurred                                                 Amount

  1. Late charges                                                          _________________________________                        (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                       _________________________________                        (2)   $ __________
  3. Attorney fees                                                         _________________________________                        (3)   $ __________
  4. Filing fees and court costs                                           _________________________________                        (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                        _________________________________                        (5)   $ __________
  6.                               opinion fees                            _________________________________                        (6)   $ __________
  7. Property inspection fees                                              _________________________________                        (7)   $ __________
  8. Tax advances (non-escrow)                                             _________________________________                        (8)   $ __________
  9. Insurance advances (non-escrow)
                                                               Insurance advanced 5/9/2024 for coverage period of 4/25/24-4/25/25
                                                                           _________________________________                        (9)
                                                                                                                                              1,517.67
                                                                                                                                          $ __________
 10. Property preservation expenses. Specify:_______________               _________________________________                    (10)      $ __________
 11. Other. Specify:____________________________________                   _________________________________                    (11)      $ __________
 12. Other. Specify:____________________________________                   _________________________________                    (12)      $ __________
 13. Other. Specify:____________________________________                   _________________________________                    (13)      $ __________
 14. Other. Specify:____________________________________                   _________________________________                    (14)      $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                                      page 1
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Debtor 1
                 Rochelle A. Manfra
              _______________________________________________________                                               24-10372
                                                                                            Case number (if known) _____________________________________
              First Name       Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

       I am the creditor.
   X
       I am the                                      .


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.

                                                                                                       05/15/24
                      /s/ Andrew M. Lubin
                  __________________________________________________                        Date    ____/_____/________
                  Signature




 Print:            Andrew M. Lubin
                  _________________________________________________________                 Title   Attorney for creditor
                                                                                                    ___________________________
                  First Name                      Middle Name        Last Name



 Company           McCabe, Weisberg & Conway, LLC
                  _________________________________________________________



 Address           1420 Walnut Street, Suite 1501
                  _________________________________________________________
                  Number                 Street
                   Philadelphia, PA 19102
                  ___________________________________________________
                  City                                               State       ZIP Code




 Contact phone       215 _____
                  (______) 790 _________
                                 1010                                                             ecfmail@mwc-law.com
                                                                                            Email ________________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                        UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Rochelle A. Manfra               Chapter 13
                                          Bankruptcy No. 24-10372-amc
                      Debtor(s)

Carrington Mortgage Services, LLC, or its
Successor or Assignee
                      Movant
              vs.

SCOTT F. WATERMAN (Chapter 13), Trustee
Rochelle A. Manfra
                   Respondent(s)

     CERTIFICATION OF SERVICE OF NOTICE OF POSTPETITION MORTGAGE
                      FEES, EXPENSES, AND CHARGES

         I, Andrew M. Lubin, attorney for Carrington Mortgage Services, LLC, hereby certify that
 I served a true and correct copy of the foregoing Notice of Postpetition Mortgage Fees,
 Expenses, and Charges, by United States Mail, first class, postage prepaid, and/or electronic
 means, upon the following:
 Date Served: 05/15/24


 Rochelle A. Manfra               Michael A. Cibik, Esquire         SCOTT F. WATERMAN
 207 Watkins St                   Cibik Law, P.C.                   (Chapter 13)
 Philadelphia, Pennsylvania       1500 Walnut Street                Chapter 13 Trustee
 19148-1913                       Suite 900                         2901 St. Lawrence Ave.
                                  Philadelphia, Pennsylvania        Suite 100
                                  19102                             Reading, Pennsylvania 19606
                                  Attorney for Debtor               Trustee

                                  Office of United States
                                  Trustee
                                  Robert N.C. Nix Federal
                                  Building
                                  900 Market Street Suite 320
                                  Philadelphia, Pennsylvania
                                  19107


                                       /s/ Andrew M. Lubin
                                       MARISA MYERS COHEN, ESQUIRE ID #87830
                                       ANDREW M. LUBIN, ESQUIRE ID # 54297
                                       Attorney for Carrington Mortgage Services, LLC
                                       1420 Walnut Street, Suite 1501
                                       Philadelphia, PA 19102
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
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